Case 8:22-cv-OOQSRiTED STATES DIsTRIET COURTS CENTRAL DISTRICT OF CAFORNIA 2 Page ID #:67

CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself [| )

Eastman, John C.

DEFENDANTS

( Check box if you are representing yourself [| )

U.S. House of Reps. Representative Bennie G. Thompson; U.S. House of
Representative Select Committee To Investigate The Jan. 6th Attack On The U.S.
Capitol; Chapman University

(b) County of Residence of First Listed Plaintiff Santa Fe, NM
(EXCEPT IN U.S. PLAINTIFF CASES)

(IN U.S. PLAINTIFF CASES ONLY)

County of Residence of First Listed Defendant

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

see attachment
Il. BASIS OF JURISDICTION (Place an X in one box only.) Il, CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
PTF DEF a PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen of This State C] 1 [] 1 [ncorporated or Principal Place =f) 4 [] 4
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [—] 2 [_] 2 Incorporated and Principal Place O55
ity (indi _ hi of Business in Another State
X] 2. U.S. Government 4. Diversity (Indicate Citizenship | Citizen or Subject of a Foreign Nation 6 6
Defendant of Parties in Item Ill) Foreign Country O3 03 9 Oe
IV. ORIGIN (Place an X in one box only.) 6. Multidistrict 8, Multidistrict
1. Original 2. Removed from O 3. Remanded from OC 4. Reinstated or OC 5. Transferred from Another O Litigation - O Litigation -
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

V. REQUESTED IN COMPLAINT: JURY DEMAND: [_] Yes No
CLASS ACTION under F.R.Cv.P. 23:

[_]Yes No

(Check "Yes" only if demanded in complaint.)

[_] MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. §§ 2201, 2202. Plaintiff seeks a declaration that the January 18, 2022 congressional subpoena served on Chapman University is procedurally invalid, infringes
attorney-client privilege, and violates plaintiff's First and Fourth Amendment rights; and an injunction against enforcment or compiance with the subpoena.

VII. NATURE OF SUIT (Place an X in one box only).

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
1 375 FalseClaims Act |[_] 110 Insurance [] 240 Torts to Land oO 462 Naturalization Habeas Corpus: 7] 820 Copyrights
376 Qui Tam ; 245 Tort Product Application LL] 463 Alien Detainee
Oo [_] 120 Marine [] 265 1c 510 Motions to Vacate |L] 830 Patent
(31 USC 3729{a)) Liability [265 Other Oe .
L] 130 Miller Act [] 290 All Other Real Immigration Actions entence 835 Patent - Abbreviated
400 State L_] 530 General O New Drug Applicati
CO Reapportionment 140 Negotiable Property TORTS 535 Death Penal ew Drug Application
1 410 Antitrust LI instrument oersqors, wury [PERSONAL PROPERTY O peat enalty (1) 840 Trademark
ther:
[1 430 Banks and Banking Guernanent Fy 310 Airplane [1 370 Other Fraud 1] stomandamus/other | 880 Defend Trade Secrets Act
oO 450 Commerce/ICC Enforcement of 315 Airplane [] 371 Truth in Lending SEGRMGEEDITGR
120 Devortation Judgment CJ Product Liability q 380 Other Personal [_] 550 Civil Rights |
[_[] 151 Medicare Act oO 320 Assault, Libel & Property Damage —_|[]_ 555 Prison Condition [_] 861 HIA (1395ff)
oO 470 Racketeer Influ- Slander 385 P D [J 862 Black Lung (923)
enced & Corrupt Org. 152 Recovery of 330 Fed. Employers’ |] Fe NU iaPaE mage 560 Civil Detainee
[J] 480 Consumer Credit |[] Defaulted Student |[] Liability L] Conditions of [] 863 DIWC/DIWW (405 (g))
485 Telephone boan (Excl Vet) [1 340 Marine BANKRUPTCY confinement 864 SSID Title XVI
UO Consumer Protection Act 153 Recovery of 345 Marine Product |] 422 Appeal 28 eee O ue
[] 490 Cable/Sat TV LC] Overpayment of {C1 [Liability USC 158 625 Drug Related [7] 865 RSI (405 (g))
850 Securities/Com Vet Benefits [1 350Motor Vehicle {C1 423 withdrawal 28 | isc ast Property 21 FEDERAL TAX SUITS |
O iti " 160 Stockholders’ otor Venice USC 157
moaities/Exchange 1O suits [1] 355 Motor Vehicle CIVILRIGHTS |] 690 Other [879 Taxes (US. Plaintiff or
ry Product Liability Defendant)
Actions [] 190 Other 360 Other Personal |L] 440 Other Civil Rights LABOR 871 IRS-Third Party 26 USC
[J 891 Agricultural Acts Contract CO Injury (J 441 Voting oO am Fair Labor Standards|[_] 7699
‘ 195 Contract 362 Personal Injury-
oO 603 Environmental CL product Liability LI Med Malpratice L] 442 Employment Ol 720 Labor/ Mgmt.
895 Freedom of Info. |["] 196 Franchise oO 365 Personal Injury- |[7] Ae Housing ons erations
LI act SER IPROBE RIN Product Liability L 740 Railway Labor Act
[1] 896 Arbitration 367 Health Care/ Bi American with 751 Family and Medical
[] 210Land [1] Pharmaceutical [] Disabilities- oO Leave Ack. and mealca
899 Admin. Procedures Condemnation Personal Injury Employment
_] Act/Review of Appeal of (] 220 Foreclosure Product Liability oO 446 American with =|] 790 Other Labor
Agency Decision 230 Rent Lease& |T] 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of ent Lease P L Inj : 791 Employee Ret. Inc.
O State Statutes 0 Ejectment Producs Linbilty O 448 Education O Security Act
FOR OFFICE USE ONLY: Case Number:
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CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?

L[] Yes

If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

[x] No

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

[-] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[_] Orange Southern
[_] Riverside or San Bernardino Eastern

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes [xk] No

If "no, " skip to Question C. If "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question B.2.

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—>

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there,

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there,

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[x] Yes [] No

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question C.2.

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.

QUESTION D: Location of plaintiffs and defendants?

Enter "Western" in response to Question E, below, and continue
from there.
A. B. C.
Riverside or San Los Angeles, Ventura,
Orange County Bernardino County | Santa Barbara, or San

Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

L

L L

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

L LO

D.1. Is there at least one answer in Column A?

Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[_] No

—>

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B,C, or D above: ma

SOUTHERN

QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

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IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [] YES

If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [1] Yes

Civil cases are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[ ] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /S/ Charles Burnham DATE: 1-20-2022

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

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